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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :    CRIMINAL NO.: 21-CR-392-RCL
                                                  :
              v.                                  :
                                                  :
 RUSSELL TAYLOR,                                  :
                                                  :
                                                  :
                   Defendant.                     :

              UNITED STATES’ RESPONSE TO DEFENDANT TAYLOR’S
                  MOTION TO MODIFY RELEASE CONDITIONS

       The United States of America, by and through its undersigned attorneys, respectfully

responds to defendant Taylor’s Motion to Modify Release Conditions (ECF 139). The

defendant’s motion seeks to relax his release conditions by removing the requirement that he

wear a GPS monitoring device. At the time the motion was filed, the government took the

position of deferring to the Probation Department and the Court concerning this request.

However, on June 21, 2022, the FBI learned of an overseas cargo shipment that is being sent to

defendant Taylor at his home address that is described in the attendant paperwork as “2 knives

and 2 axes w/sheaths.” The release conditions ordered by this Court (ECF 58) expressly prohibit

the defendant from possessing “any firearm, destructive device, or other weapon.” Given that

the content of this cargo shipment appears to constitute a violation of that condition, the

government now respectfully notifies the Court of the potential violation. The government has

also reported this information to the Probation Department.

       Additionally, in light of these new facts, the government now takes the position that

modification of the defendant’s release conditions at this time would be inappropriate. In
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support, the government notes that the defendant is charged with three felonies for carrying a

knife while on Capitol grounds on January 6, 2021, in violation of 18 U.S.C. §§ 1752(a)(1) &

(b)(1)(A), 1752(a)(2) & (b)(1)(A), and 40 U.S.C. § 5104(e)(1)(A). Superseding Indictment,

¶¶ 77-81 (ECF 89). The Superseding Indictment also alleges that on the evening of January 5,

2021, the defendant posted a photo on an encrypted messaging service showing tactical gear

arranged on a bed, including two hatchets and a knife; underneath the photo, the defendant wrote

the caption, “Now getting ready for tomorrow.” Id. ¶ 57. Now, given that the defendant may

have violated his release conditions in a manner that involves these same types of weapons, the

government respectfully submits that the defendant’s conditions should not be modified at this

time.

                                             Respectfully submitted,

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